AO 245C (Rev. ) Amended Judgment in a Criminal Case                                                                (NOTE: Identify Changes with Asterisks (*))
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                            Eastern District of North Carolina
                UNITED STATES OF AMERICA                                       )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.                                        )
                                                                               )   Case Number: 5:18-CR-452-1FL
                 LEONID ISAAKOVICH TEYF                                        )
                                                                                   USM Number: 65608-056
                                          7/9/2021                             )
Date of Original Judgment:                                                         F. Hill Allen, IV/Robert S. Wolf/Dmitry Petrov
                                          (Or Date of Last Amended Judgment)
                                                                               )   Defendant’s Attorney
                                                                               )
Reason for Amendment:
                                                                               )
G   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))
                                                                               )   G   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                               )
                                                                                   G   Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                               )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))          )   G   Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
✔ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
G                                                                                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                               )
                                                                               )   G   Direct Motion to District Court Pursuant   G   28 U.S.C. § 2255 or
    *To correct "Offense Ended" date for Count 44ssss
                                                                               )       G 18 U.S.C. § 3559(c)(7)
                                                                                   G   Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              27ssss, 31ssss, and 44ssss

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                                 Offense Ended                   Count

 18 U.S.C. §201(b)(1)                Bribery of a Public Official                                                     5/23/2018                       27ssss
 18 U.S.C. §1546(a)                  Visa Fraud                                                                       8/10/2018                       31ssss
 26 U.S.C. §7206(1)                  False Statement on Tax Return                                                    *9/26/2013                      44ssss


       The defendant is sentenced as provided in pages 2 through                   7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) 1ssss  - 26ssss, 28ssss - 30ssss, 33ssss -      ✔ are dismissed on the motion of the United States.
G            43ssss, and 45ssss - 50ssss              G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 7/9/2021
                                                                                Date of Imposition of Judgment


                                                                                   Signature of Judge
                                                                                    Louise W. Flanagan                             U.S. District Judge
                                                                                   Name and Title of Judge
                                                                                    7/12/2021
                                                                                   Date




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 2 — Imprisonment                                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page          2     of          7
DEFENDANT: LEONID ISAAKOVICH TEYF
CASE NUMBER: 5:18-CR-452-1FL

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

60 months on Count 27ssss, a term of 60 months on Count 31ssss, and a term of 36 months on Count 44ssss, all such terms to be served concurrently,
producing a total term of 60 months


✔
G       The court makes the following recommendations to the Bureau of Prisons:

The court recommends that the defendant receive substance abuse treatment, mainly for alcohol. The court recommends defendant receive a mental health
assessment and mental health treatment while incarcerated. The court recommends that he serve his term in FCI Butner, NC.

✔
G       The defendant is remanded to the custody of the United States Marshal.

G       The defendant shall surrender to the United States Marshal for this district:
        G      at                                  G       a.m.     G    p.m.       on                                         .

        G      as notified by the United States Marshal.

G       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        G      before 2 p m. on                                             .

        G      as notified by the United States Marshal.

        G      as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                              to

at                                                         with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                               Judgment—Page        3       of         7
DEFENDANT: LEONID ISAAKOVICH TEYF
CASE NUMBER: 5:18-CR-452-1FL
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
3 years on Counts 27ssss and 31ssss, and a term of 1 years on Count 44ssss, all such terms to run concurrently, producing a total term of 3 years




                                                     MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
. G <RX PXVW PDNH UHVWLWXWLRQ LQ DFFRUGDQFH ZLWK  86&   DQG $ RU DQ\ RWKHU VWDWXWH DXWKRUL]LQJ D VHQWHQFH RI
        UHVWLWXWLRQ FKHFN LI DSSOLFDEOH
    ✔
. G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
. G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKH ORFDWLRQ whHUH you
        reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
. G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 3A — Supervised Release
                                                                                                        Judgment—Page      4     of        7
DEFENDANT: LEONID ISAAKOVICH TEYF
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 3D — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                                  Judgment—Page       5      of         7
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                                          SPECIAL CONDITIONS OF SUPERVISION
  Upon completion of his term of imprisonment, the defendant is to be surrendered to a duly-authorized immigration official for deportation in
  accordance with established procedures provided by the Immigration and Naturalization, 8 U.S.C. § 1101. As a further condition of supervised
  release, if ordered deported, the defendant shall remain outside the United States.

  The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation officer, any other law
  enforcement officer, of the defendant’s person and premises, including any vehicle, to determine compliance with the conditions of this judgment.

  The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic addiction, drug dependency, or
  alcohol dependency which will include urinalysis testing or other drug detection measures and may require residence or participation in a residential
  treatment facility.

  The defendant shall abstain from the use of alcoholic beverages, shall not associate with individuals consuming alcoholic beverages, shall not frequent
  business establishments whose primary product to the consumer is alcoholic beverages, and shall not use any medication containing alcohol without
  the permission of the probation office or a prescription from a licensed physician.

  The defendant shall participate in a program of mental health treatment, as directed by the probation office.

  The defendant shall support his dependent(s).

  The defendant shall provide the probation office with access to any requested financial information.




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page        6        of          7
DEFENDANT: LEONID ISAAKOVICH TEYF
CASE NUMBER: 5:18-CR-452-1FL
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                    JVTA Assessment*   Fine                                  Restitution
TOTALS             $ 300.00                      $ 0.00             $ 0.00                                $ 0.00


G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss**                    Restitution Ordered                     Priority or Percentage




TOTALS                               $                        0.00        $                        0.00



G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      G the interest requirement is waived for           G fine      G restitution.
      G the interest requirement for the         G fine      G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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AO 245C (Rev. ) Amended Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page      7      of         7
DEFENDANT: LEONID ISAAKOVICH TEYF
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                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    G Lump sum payment of $                                   due immediately, balance due

          G not later than                                         , or
          G in accordance with G C,               G D,       G     E, or     G F below; or
B    G Payment to begin immediately (may be combined with                  G C,        G D, or G F below); or
C    G Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G


            The special assessment in the amount of $300.00 is due in full immediately.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G

       Pursuant to the Consent Order for Release of Certain Assets entered on July 9, 2021.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

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